Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 1 of 79




                        Exhibit C
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 2 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 3 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 4 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 5 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 6 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 7 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 8 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 9 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 10 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 11 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 12 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 13 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 14 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 15 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 16 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 17 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 18 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 19 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 20 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 21 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 22 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 23 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 24 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 25 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 26 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 27 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 28 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 29 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 30 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 31 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 32 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 33 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 34 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 35 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 36 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 37 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 38 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 39 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 40 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 41 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 42 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 43 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 44 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 45 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 46 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 47 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 48 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 49 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 50 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 51 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 52 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 53 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 54 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 55 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 56 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 57 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 58 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 59 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 60 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 61 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 62 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 63 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 64 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 65 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 66 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 67 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 68 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 69 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 70 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 71 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 72 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 73 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 74 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 75 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 76 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 77 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 78 of 79
Case 18-10601-MFW   Doc 3709-3   Filed 02/07/25   Page 79 of 79
